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Advocates & Litigators

TIMOTHY B. FLEMING
OF COUNSEL                                           January 26, 2023

        Via ECF only
        The Honorable Sarah Netburn
        United States Magistrate Judge
        United States District Court for the
        Southern District of New York
        Thurgood Marshall U.S. Courthouse
        40 Foley Square
        New York, New York 10007

        Re:          In Re Terrorist Attacks on Sept. 11, 2001, 03-MDL-1570 (GBD)(SN)
                     Ashton, et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
                     Bauer, et al. v. al Qaeda Islamic Army, et al., 02-cv-07236 (GBD)(SN)
                     Ryan, et al. v. Islamic Republic of Iran, et al., 20-cv-00266 (GBD)(SN)
                     Ashton, et al. v. Kingdom of Saudi Arabia, 1:17-cv-2003 (GBD)(SN)

                     Letter re: Court’s Order of December 12, 2022 Order, MDL Doc. No. 8796

        Dear Magistrate Judge Netburn:

        We submit this Letter Motion in compliance with the Court’s order of December 12, 2022, to
        submit lists of parties and docket entries to assist the Court in completing the severance of the
        claims of four certain plaintiffs of the Maher family from Bauer, et al. v. al Qaeda Islamic Army,
        et al., 02-cv-07236 and Ashton, et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 for placement
        of such claims into new cases to be created upon severance from Bauer/Ashton as well as
        transferring existing judgments against Iran into the existing Ryan, et al. v. Islamic Republic of
        Iran, et al., 20-cv-00266 case. The four Bauer/Ashton plaintiffs are: Katherine Maher, as
        personal representative of the Estate of Daniel L. Maher, and individually in her own right, and
        Daniel R. Maher and Joseph F. Maher (sons of 9/11 Decedent Daniel L. Maher).

        As the Court now knows from the letter filed by Bauer counsel, MDL Doc. No. 8838, the matter
        has been affected somewhat by termination of the undersigned counsel by the Ryan family,
        which was directly involved in the subject of the November 18, 2022 hearing.

        We believe it is quite clear that, in the November 18 hearing, the Court asked the parties whether
        there was any problem with severing the claims of the involved plaintiffs, nunc pro tunc, and
        transferring them into new cases to be created upon severance and transferring necessary
        underlying and pending docket entries into the new cases and, in regard to Iran, the existing
        judgments into the existing Ryan case. The undersigned counsel and the Baumeister firm agreed
        in open court to this resolution of the matter. We understood the Court’s order of December 12,
        2022, was designed to facilitate that resolution. We undertook to review the status of the
        hundreds of defendants and two decades of docket entries in order to create the lists.
                                                                                                              BIRMINGHAM, AL
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The Honorable Sarah Netburn
January 26, 2023                                                                           Page 2

If we understand the Court’s Order correctly, we have only designated on the attached lists the
docket entries of pending matters from the Bauer docket and the Ashton docket; we have not
listed items that are no longer pending, but we do list orders with continuing application; nor do
we list items from the MDL docket because Your Honor’s order did not call for it. We recognize
that numerous MDL docket entries, e.g., the Case Management Orders at MDL ECF 16, 247,
and 248, do and will apply to the new cases. There are some exceptions, particularly as to the
Sudan cases, such as MDL ECF 6429 and 6537, pertaining to pleadings we did not find on the
Ashton docket. The notations regarding the docket entries are generally only summaries.

Given the number of defendants and the length of the dockets, we recognize it is possible that we
missed some docket entries; if we do find others, we will file a letter motion for transfer of any
such entries.

The Baumeister firm has reviewed this letter and does not oppose it.

Accordingly, we limit our submission of the lists requested by the Court to pending matters and
order pertaining only to the Maher family: Katherine Maher, as personal representative of the
Estate of Daniel L. Maher, and individually in her own right, and Daniel R. Maher and Joseph F.
Maher (sons of 9/11 Decedent Daniel L. Maher).

                                             Respectfully Submitted,

                                                /s/ Timothy B. Fleming
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                                             her own right, Daniel R. Maher, and Joseph F.
                                             Maher
